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                                                                                                  Best Buy 1st Am. Compl. ¶ 48
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Best Buy 1st Am. Compl. ¶ 147
                                Best Buy 1st Am. Compl. ¶ 130
                                                                  Best Buy 1st Am. Compl. ¶ 125
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